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                                           1   LARSON & ZIRZOW, LLC
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                                               Las Vegas, Nevada 89101
                                           6   Tel: (702) 382-1170
                                           7   Fax: (702) 382-1169

                                           8   Proposed Attorneys for Debtor

                                           9
                                                                        UNITED STATES BANKRUPTCY COURT
                                          10                                   DISTRICT OF NEVADA
                                          11   In re:                                     Case No.: 21-10690-nmc
                                                                                          Chapter 11
                                          12   GATA III LLC,
Tel: (702) 382-1170 Fax: (702) 382-1169




                                                                                                 Status Hearing:
                                          13                            Debtor.                  Date: April 6, 2021
       LARSON & ZIRZOW, LLC




                                                                                                 Time: 9:30 a.m.
        Las Vegas, Nevada 89101
          850 E. Bonneville Ave.




                                          14

                                          15                   SUBCHAPTER V SMALL BUSINESS DEBTOR’S STATUS
                                                                    REPORT PURSUANT TO 11 U.S.C. § 1188(c)
                                          16
                                                        Gata III LLC, a Nevada limited liability company (“Gata” or “Debtor”), Debtor and
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                                               Debtor-in-possession, submits its status report (the “Status Report”) in response to the Court’s
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                                               Order to Set Status Hearing filed on February 16, 2021, and in compliance with section 1188(c)
                                          19
                                               of title 11 of the United States Code (the “Bankruptcy Code”). As its Status Report, the Debtor
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                                               represents as follows:
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                                                        1.    Gata III LLC has a principal place of business located at 1463 Graystone Canyon
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                                               Ave., Las Vegas, Nevada. The Debtor was formed on April 26, 2018, and is managed by Paul
                                          23
                                               Thomas (“Mr. Thomas”), who is the sole member of Gata II LLC, Debtor’s sole managing
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                                               member. The Debtor owns two (2) parcels of improved real property in Clark County, Nevada,
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                                               the first located at 375 N. Stephanie Street, Unit 3, Henderson, Nevada 89014 (the “Stephanie
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                                               Property”) which is currently leased to a Tokyo Boys sushi bar and restaurant, and the second
                                          27
                                               one located at 120 Cassia Way, Henderson, Nevada 89014 (the “Cassia Property”), which is a
                                          28
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                                           1   flex-use storage and warehouse space with a gross building area of 5,944 square feet
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                                           2   (collectively, the “Properties”).
                                           3
                                           3          2.       On February 15, 2021 (the “Petition Date”), the Debtor filed its voluntary
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                                           4   petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy
                                           5
                                           5   Code”), thereby commencing its bankruptcy case (the “Chapter 11 Case”). The Debtor has
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                                           6   elected to be treated as a small business debtor under Subchapter V of chapter 11 of the
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                                           7   Bankruptcy Code, and thus the Debtor is authorized to continue operating its business as a debtor
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                                           8   in possession pursuant to sections 1182(2), 1184 and 1186(b) under Subchapter V of the
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                                           9   Bankruptcy Code, and also sections 1107(a) and 1108 of the Bankruptcy Code, as applicable.
                                          10
                                          10   Brian D. Shapiro has been appointed as the Subchapter V Trustee (the “Subchapter V Trustee”).\
                                          11
                                          11          3.      On March 1, 2021, the Debtor filed its remaining schedules and statements (the
                                          12
Tel: (702) 382-1170 Fax: (702) 382-1169




                                          12   “Schedules”) [ECF No. 19].
                                          13
                                          13          4.      On March 3, 2021, the Debtor appeared and concluded the Initial Debtor
        LARSON & ZIRZOW, LLC

         Las Vegas, Nevada 89101




                                          14
           850 E. Bonneville Ave.




                                          14   Interview with the U.S. Trustee’s office. The Meeting of Creditors is currently scheduled for
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                                          15   March 25, 2021 at 9:00 a.m. Debtor believes that it has provided all the information necessary
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                                          16   pursuant to the request of the U.S. Trustee’s office, and believes that the meeting will be
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                                          17   concluded.
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                                          18          5.      The Debtor’s Schedules detail the various principal creditors involved in the
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                                          19   Chapter 11 Case, including the various secured trust deed holders (“Secured Creditors”) who are
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                                          20   serviced through NV Capital Corporation, LLC, which deeds are secured by the Cassia Property
                                          21
                                          21   and the Stephanie Property.         Each group of Secured Creditors are similar to each of the
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                                          22   Properties, and who appear to be in first position. The Debtor also has other secured creditors
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                                          23   including the Clark County Treasurer, and the property associations for each of the property
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                                          24   locations, specifically, Black Mountain Point Association for the Cassia Property, and Galleria
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                                          25   Corporate Centre for the Stephanie Property (“Other Secured Creditors”).
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                                          26          6.      The Debtor has also filed its retention application which seeks to retain and
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                                          27   employ the law firm of Larson & Zirzow, LLC as its general reorganization counsel [ECF No.
                                          28
                                          28   12], which application was set for, and approved, on March 23, 2021.


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                                           1          7.       The Debtor is in its early stages of preparing and determining its best course of
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                                           2   action for its plan of reorganization. It is Debtor’s intention to have a drafted proposed chapter
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                                           3   11 plan of reorganization by mid April, including financial projections and accompanying
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                                           4   liquidation analysis, and circulated them, along with an explanation of its terms to the
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                                           5   Subchapter V Trustee and its Secured Creditors. As of this date, the Secured Creditors have yet
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                                           6   to make an appearance through counsel in the Debtor’s chapter 11 case. Regardless, the Debtor
                                           7
                                           7   does believe that it will have some kind of plan of reorganization on file shortly after the Status
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                                           8   Hearing set for April 6, 2021.
                                           9
                                           9          8.      On March 22, 2021, the Debtor timely filed its February 2021 monthly operating
                                          10
                                          10   report for the period as of the Petition Date to February 29, 2021.
                                          11
                                          11          Dated: March 23, 2021.
                                          12                                                 By:     /s/ Zachariah Larson
Tel: (702) 382-1170 Fax: (702) 382-1169




                                          12                                                        LARSON & ZIRZOW, LLC
                                          13
                                          13                                                        ZACHARIAH LARSON, ESQ.
        LARSON & ZIRZOW, LLC

         Las Vegas, Nevada 89101




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                                          14                                                        MATTHEW C. ZIRZOW, ESQ.
                                          15                                                        Nevada Bar No. 7222
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                                                                                                    Las Vegas, Nevada 89101
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                                          17                                                        Proposed Attorneys for Debtor
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